Case 1:20-cv-23223-BB Document 19 Entered on FLSD Docket 10/13/2020 Page 1 of 5




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION

                                CASE NO: 20-23223-CIV-BLOOM

 DRAGAN JANICIJEVIC, on his own
 behalf and on behalf of all other similarly
 situated crew members working aboard
 BAHAMAS PARADISE CRUISE LINE
 vessels

        Plaintiffs,

                v.

 CLASSICA CRUISE OPERATOR, LTD.,
 PARADISE CRUISE LINE OPERATOR
 LTD. INC., a/k/a PARADISE CRUISE LINE
 OPERATOR LTD. d/b/a BAHAMAS
 PARADISE CRUISE LINE, BPCL
 MANAGEMENT, LLC, d/b/a BAHAMAS
 PARADISE CRUISE LINE, LLC.,

        Defendants.
                                                   /
              NOTICE OF INTERVENING ELEVENTH CIRCUIT RULING
     REGARDING PROPSED INCENTIVE AWARDS AND AGREEMENT TO CHANGE
                  PROPOSED CLASS NOTICE AS A RESULT

        Plaintiff, Class Counsel, and Defendants (the “Parties”) hereby acknowledge that, after the

 original Stipulation of Settlement and Release was executed (ECF No. 17-1), a panel of the United

 States Court of Appeals for the Eleventh Circuit issued a ruling in Johnson v. NPAS Solutions,

 LLC, No. 18-12344, 2020 WL 5553312 (11th Cir. Sept. 17, 2020). In NPAS, the Eleventh Circuit

 held that all service awards for class action representatives are impermissible.1


 1
  Plaintiff’s Counsel have been dealing with this issue now in other pending class actions where
 preliminary approval has already been granted, and like this case, where preliminary approval is
 pending. NPAS will not become binding precedent until issuance of the mandate (which has not
 yet occurred, nor has rehearing en banc yet occurred). See, e.g., Nat. Res. Def. Council, Inc. v.
 County of Los Angeles, 725 F.3d 1194, 1203–04 (9th Cir. 2013), certiorari denied, 572 U.S. 1100
Case 1:20-cv-23223-BB Document 19 Entered on FLSD Docket 10/13/2020 Page 2 of 5




        Based upon this ruling, Plaintiff and Class Counsel hereby represent and agree that a

 service award cannot be approved for Plaintiff, unless the ruling in NPAS prohibiting service

 awards is reversed, vacated, or overruled.

        Should that not occur prior to Plaintiff’s deadline specified in the Stipulation for requesting

 a service award, the Parties respectfully submit that this Court could still approve the settlement

 and all of its terms, but also deny approval of specifically a service award and retain “jurisdiction

 for the limited purpose of revisiting the denial of service awards if the Eleventh Circuit holds a

 rehearing en banc in Johnson v. NPAS Sols., LLC and reverses its decision,” or another Eleventh

 Circuit decision overrules NPAS. See Metzler, et al. v. Medical Management International, Inc.,

 et al., 2020 WL 5994537 (M.D. Fla. October 9, 2020) (reserving jurisdiction to award service

 awards if NPAS is reversed). Class Counsel could then “move for reconsideration upon such a

 reversal” up to and including the date the Second Gross Settlement Fund payment (as defined in

 the Settlement Agreement) is due to be paid. Id.

        Based on this representation and agreement, the parties have agreed to modify paragraph

 18 of the proposed Class Notice (ECF No. 17-1 at Ex. 2) as follows:




 (2014) (explaining that “[n]o opinion of this circuit becomes final until the mandate issues”) (citing
 Carver v. Lehman, 558 F.3d 869, 878 (9th Cir.2009) (“[U]ntil the mandate issues, an opinion is
 not fixed as settled Ninth Circuit law, and reliance on the opinion is a gamble.” (citation omitted));
 see also Fed R.App. P. 41(c), 1998 Adv. Comm. Note (“A court of appeals’ judgment or order is
 not final until issuance of the mandate[.]”)). See also Key Enters. of Del., Inc. v. Venice Hosp., 9
 F.3d 893, 898 (11th Cir. 1993) (“[B]ecause the panel’s mandate had not issued, the panel’s
 decision was never the ‘law of the case.’”); United States v. Foumai, 910 F.2d 617, 620 (9th
 Cir.1990) (explaining a “court of appeals may modify or revoke its judgment at any time prior to
 issuance of the mandate, sua sponte or by motion of the parties”). Appellees in NPAS have
 indicated their intention to seek rehearing en banc.


                                                 -2–
Case 1:20-cv-23223-BB Document 19 Entered on FLSD Docket 10/13/2020 Page 3 of 5




 The original Section 18 reads as follows:

 18. How Will The Class Counsel Lawyers Be Paid?

 Class Counsel will ask the Court for attorneys’ fees and expenses up to $262,500.00, and a case
 contribution award of $5,000.00 paid to Settling Plaintiff Dragan Janicijevic for his time and effort
 in the matter. The Court may award less than these amounts.
 The attorneys’ fees and expenses and the case contribution shall come from the Settlement Fund.
 Defendants have agreed not to oppose the applications by Class Counsel for attorneys’ fees and
 expenses or the case contribution award to Settling Plaintiff that do not exceed those amounts.


 The Parties hereby amend Section 18 of the Class Notice by interlineation to read as follows:


 18. How Will The Class Counsel Lawyers Be Paid?

 Class Counsel will ask the Court for attorneys’ fees and expenses up to $262,500.00, and a case
 contribution award of $5,000.00 paid to Settling Plaintiff Dragan Janicijevic for his time and effort
 in the matter. The Court may award less than these amounts.
 The attorneys’ fees and expenses and the case contribution shall come from the Settlement Fund.
 Defendants have agreed not to oppose the applications by Class Counsel for attorneys’ fees and
 expenses or the case contribution award to Settling Plaintiff that do not exceed those amounts.
 Following execution of the Settlement, a panel of the United States Court of Appeals for the Eleventh
 Circuit issued an opinion holding that case contribution awards for class representatives were
 impermissible. Johnson v. NPAS Solutions, LLC, 2020 WL 5553312 (11th Cir. 2020). In light of this
 opinion, the Parties have agreed that the Court may approve all of the terms of the settlement, while also
 denying the request for a case contribution award, but Class Counsel can request the Court reserve
 jurisdiction to reconsider the issue of a case contribution award if NPAS is reversed, vacated, or overruled
 before the final date of the completion of Net Settlement Fund payments. Class Counsel will file with the
 Court their request for attorneys’ fees and expenses and any request for service awards on or before
 MONTH DAY, YEAR, which will then be posted on www.__________________.com/[[ ]].




                                                    -3–
Case 1:20-cv-23223-BB Document 19 Entered on FLSD Docket 10/13/2020 Page 4 of 5




        WHEREFORE, the Parties respectfully request the Court use the above interlineated
 language for its consideration in granting Preliminary Approval of the Settlement in this action.

 Date: October 13, 2020                               Respectfully submitted,


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                                                -4–
Case 1:20-cv-23223-BB Document 19 Entered on FLSD Docket 10/13/2020 Page 5 of 5




                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was filed on October 13, 2020

 with the Clerk by using the CM/ECF system, which will send notification of such filing to all

 attorneys of record.


                                                      s/ Adam M. Moskowitz




                                               -5–
